                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION - DETROIT
  IN RE:
                                                   CHAPTER 13
  Angela Amerson,                                  CASE NO. 19-40267-PJS
                                                   JUDGE PHILLIP J. SHEFFERLY
  DEBTOR.
  _______________________________/

                 TRUSTEE’S AMENDED OBJECTIONS TO
                 CONFIRMATION OF CHAPTER 13 PLAN

      NOW COMES the Chapter 13 Standing Trustee, David Wm. Ruskin, and
objects to confirmation of the Chapter 13 Plan in the above matter pursuant to Local
Bankruptcy Rule 3015 as follows:

      1.    The Proof of Claim filed by the Department of the Treasury – Internal
Revenue Service indicates that Debtor has not filed tax returns for 2014 and 2015.
The Plan does not comply with 11 USC Sections 1308 and 1325(a)(9)

      2.     The Plan proposes to treat Wells Fargo Mortgage as an ongoing claim
secured by property other than Debtor’s principal residence. The claim of Wells
Fargo Mortgage is secured by real property located at 2789 Birchwood Drive,
Waterford, Michigan which is Debtor’s principal residence. Debtor’s
misclassification of this claim results in Debtor’s Plan lacking compliance with 11
USC Section 1325(a)(5).
      3.     Debtor’s Plan proposes to retain the real property located at 2789
Birchwood Drive, Waterford, Michigan and to pay the obligation to Wells Fargo
Mortgage secured by that property directly. Debtor testified at the First Meeting of
Creditors that Wells Fargo Mortgage has previously foreclosed the mortgage on the
property leaving Debtor with no equitable interest in the property and no ability to
cure or maintain the default on the property. Further, even if Debtor could cure and
maintain the default on the property, there is no basis for direct payment of this
obligation. Under the circumstances, Debtor’s Plan does not comply with 11 USC
Section 1325(a)(5) , 11 USC Section 1325(b), 11 USC Section 1326(c) or Local
Bankruptcy Rule 3070-1.



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       4.    Section II.C.2 indicates that Debtor’s Plan proposes less than 100%
dividend to unsecured creditors and states that Debtor’s Schedule I does not include
a proration for anticipated tax refunds. However, Debtor’s Schedule J appears to
include a proration of $300.00 per month for future tax refunds. In light of this
conflict, Debtor’s Plan does not comply with 11 USC Section 1325.
       5.   Class 9 of the Chapter 13 Plan does not indicate a dividend to unsecured
creditors. As a result, Debtor’s Plan does not comply with 11 USC Section
1325(a)(4).

       6.    The amount of the proposed funding in the Plan is not sufficient to pay
all claims as proposed in the Plan (the Plan is underfunded). Therefore, the Plan
does not to provide for the submission of sufficient future earnings or future income
for the execution of the Plan as required by 11 USC 1322(a)(1).
       7.     Debtor’s Schedule A/B indicates that Debtor does not own any
electronics. Debtor testified at the First Meeting of Creditors that Debtor has
multiple electronics including four or five television sets with an aggregate value of
at least $1,000.00. Debtor’s non-disclosure of all of Debtor’s assets violates 11 USC
Section 521 resulting in the Plan lacking compliance with 11 USC Section
1325(a)(1). Further, the Liquidation Analysis attached to Debtor’s Chapter 13 Plan
does not include the value of these assets resulting in the Plan lacking compliance
with 11 USC Section 1325(a)(4).
      8.     The Plan does not provide that 100% of profit sharing funds and/or
bonuses received or entitled to be received by Debtor since commencement of
Debtor's case be remitted to the Trustee for distribution among creditors as required
by 11 USC Section 1325(b) and In re Freeman, 86 F.3d 478 (6th Cir., 1996).
      9.    Based upon an average of Debtor’s pay stubs dated December 27, 2018
and January 10, 2019, Debtor has average monthly gross income of $6,884.35, and
average monthly net amount of $4,370.46. Debtor's Schedule I understates Debtor’s
monthly net income by approximately $588.44. Debtor's Plan does not comply with
11 USC Section 1325(b)(1)(B) and 11 USC Section 1325(a)(3).

       10. Debtor’s Schedule I deducts $606.00 per month as a mandatory
retirement contribution. Debtor’s paystubs provided to the Trustee indicate that
Debtor’s actual retirement contribution is $278.00 per month. Debtor’s Schedule I
appears to significantly overstate the actual amount being contributed by Debtor to
her retirement. Debtor’s Plan does not comply with 11 USC Section 1325(b).


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      11. The Plan does not increase its funding upon the termination of the
obligation of Debtor’s retirement loan pursuant to 11 USC 1325(b)(1)(B) and 11
USC 1325(a)(3).

       12. Debtor testified at the First Meeting of Creditors that Debtor may need
to retain Counsel to assist Debtor’s dependent son in prosecuting a Social Security
Disability claim. To the extent that Debtor intends to retain Counsel, Debtor’s Plan
should require Debtor to obtain authorization of this Court to retain and compensate
Counsel in order to ensure compliance with 11 USC Section 327, 11 USC Section
330, and 11 USC Section 1325.

      WHEREFORE, the Chapter 13 Standing Trustee requests this Honorable
Court deny confirmation of Debtor's Chapter 13 Plan unless modified to meet these
objections.


                               OFFICE OF DAVID WM. RUSKIN, STANDING
                               CHAPTER 13 TRUSTEE

  Dated: March 15, 2019         By: _/s/ Thomas D. DeCarlo__
                                LISA K. MULLEN (P55478)
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                              DEBTOR.                   JUDGE PHILLIP J. SHEFFERLY
  _______________________________________/

     CERTIFICATE OF SERVICE OF TRUSTEE’S AMENDED OBJECTIONS TO
                  CONFIRMATION OF CHAPTER 13 PLAN

       I hereby certify that on March 18, 2019, I electronically filed the Trustee’s Amended
Objections to Confirmation of Chapter 13 Plan with the Clerk of the Court using the ECF system
which will send notification of such filing to the following:
       The following parties were served electronically:
               SWEENEY LAW OFFICES PLLC
               25140 Lahser Rd Ste 252B
               Southfield, MI 48033-0000

       The following parties were served via First Class Mail at the addresses below by depositing
same in a United States Postal Box with the lawful amount of postage affixed thereto:

               Angela Amerson
               2789 Birchwood Drive
               Waterford, MI 48329-0000



                              ________/s/ Vanessa Wild___
                              Vanessa Wild
                              For the Office of David Wm. Ruskin
                              Chapter 13 Standing Trustee - Detroit
                              1100 Travelers Tower
                              26555 Evergreen Road
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                              (248) 352-7755




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